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;




                          1   Donald E. J. Kilmer, Jr. [SBN: 179986]
                              LAW OFFICES OF DONALD KILMER
                          2   1645 Willow Street, Suite 150
                              San Jose, California 95125
                          3   Voice: (408) 264-8489
                              Fax: (408) 264-8487
                          4   E-Mail: Don@DKLawOffice.com
                          5   Jason A. Davis [SBN: 224250]
                              Davis & Associates
                          6   27281 Las Ramblas, Suite 200
                              Mission Viejo, CA 92691
                          7   Voice: (949) 310-0817
                              Fax: (949) 288-6894
                          8   E-Mail: Jason@CaIGunLawyers.com
                          9   Attorneys for Plaintiffs
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                         12                               UNITED STATES DISTRICT COURT                    LB
                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         13                              SAN FRANCISCO I OAKLAND DIVISION
                         14
                         15
                                                                      CYcase11
                                                                            No.:                 5580
                               BRENDAN JOHN RICHARDS, THE
                         16    CALGUNS FOUNDATION, INC.,
                               and THE SECOND AMENDMENT                    NOTICE OF RELATED CASE
                         17
                               FOUNDATION, INC.,                           Local Rule 3-12
                         18
                                        Plaintiffs,
                         19
                                                       vs.
                         20
                               KAMALA HARRIS, Attorney General
                         21
                               of California (in her official capacity),
                         22    CALIFORNIA DEPARTMENT OF
                               JUSTICE, CITY OF ROHNERT
                         23    PARK, OFFICER DEAN BECKER
                               (RP134) and DOES 1 TO 20,
                         24
                         25             Defendants.

                         26
                         27           Pursuant to Northern District Civil Rule 3-12, Plaintiffs hereby give notice
     D<lnaldKilmer
     Attomeyatlaw        28   that they are aware of two (2) earlier cases with the following factors in common:
     1645 Willow 5t
        Suite 150
    San Jose. CA 95125
     Vc· 4081264-8489
     Fx 4081264-8487          Notice: Related Case                   Page 1 of 2                    Richards v Harris (II)
                                    Case 3:11-cv-05580-SI Document 2 Filed 11/17/11 Page 2 of 2



                         1     1.
                                       The prior cases shares the common Plaintiffs: Brendan Richards, Calguns
                         2             Foundation, Inc., and Second Amendment Foundation, Inc.
                         3     2.      The prior case shares the common Defendants: Kamala Harris, Attorney
                         4             General and the California Department of Justice.
                         5    3.       The prior case shares legal theories, that if the Plaintiffs are correct, would
                         6            require the same prospective injunctive relief against the common
                         7            Defendants.
                         8    4.      The prior case and this one will require the Court to analyze California's
                     9                Assault Weapons Statutes and Regulations.
                    10                The prior cases are Haynie u. Harris; Case No.: 10-CV-1255-SI and Richards
                    11        u. Harris; Case No.: 3:11-CV-02493 S1. The prior cases were related and then
                    12       consolidated and are currently pending before the Honorable Susan Illston in the
                    13       San Francisco Division of the United States District Court for the Northern
                    14       District.
                    15               As soon as this case is docketed, Plaintiffs' Counsel will file the required
                    16       "Administrative Motion to Consider Whether Case Should be Related" pursuant to
                    17       Local Rules 3-12 and 7-11 in the earlier case.
                    18
                    19
                                                                                      /s/
                    20       Donald Kilmer, Jr.     N: 179986]                Jason A. Davis [SBN: 224250]
                             Law Offices of Donald Kilmer, APC                Davis & Associates
                    21       1645 Willow Street, Suite 150                    27281 Las Ramblas, Suite 200
                             San Jose, California 95125                       Mission Viejo, CA 92691
                    22       Voice: (408) 264-8489                            Voice: (949) 310-0817
                             Fax: (408) 264-8487                              Fax: (949) 288-6894
                    23       E-Mail: Don@DKLawOffice.com                      E-Mail: Jason@GaIGunLawyers.com
                    24
                             Attorneys for Plaintiffs
                    25
                    26
                    27
 Donald KSme.
 Anomey at law      28
  1645 WillowS!
     Suit. ISO
San Jos'.CA 95125
 Vo 408/264·8489
 Fx 408/264-8487             Notice: Related Case                     Page 2 of 2                      Richards v Harris (II)
